Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 1 of 12




                     EXHIBIT 25
                     Redacted for
                     Public Filing
      Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 2 of 12




                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK



 CARNEGIE INSTITUTION OF WASHINGTON,

 M7D CORPORATION,                                        Civil Action No. 1:20-cv-00200-JSR

        Plaintiffs,

 v.

 FENIX DIAMONDS LLC,

        Defendant.


                           PLAINTIFFS’ RULE 26(A) DISCLOSURE
                          TO DEFENDANT FENIX DIAMONDS LLC

       Pursuant to Federal Rule of Civil Procedure 26(a), Plaintiffs Carnegie Institution of

Washington and M7D Corporation (collectively, “Plaintiffs”) provide the following Initial

Disclosures.

       These Initial Disclosures are based on information currently available and known to

Plaintiffs following a reasonable and diligent investigation, without the benefit of discovery and

without the benefit of direct access and inspection of Defendant’s manufacturing processes and

those of its suppliers and/or vendors. Plaintiffs reserve the right to supplement or revise these

Initial Disclosures, including but not limited to, by later identifying additional individuals or

entities who may have knowledge of relevant facts pursuant to further investigation or discovery

conducted subsequent to the date of these Initial Disclosures. By making these disclosures,

Plaintiffs do not represent that every individual identified herein necessarily possesses information

that Plaintiffs will use to support their claims and defenses, nor that the individual possesses
Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 3 of 12
    Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 4 of 12




                                  Defendant’s manufacture; preparation; advertising,
                                  marketing, and promotion; distribution; strategy,
                                  decision, and rationale for developing and
                                  marketing; uses; and offers to sell CVD Diamonds
                                  within the United States;

                                  Defendant’s importation of CVD Diamonds into
                                  the United States;

                                  third parties working on Defendant’s behalf or at
                                  Defendant’s direction in connection with the
                                  manufacture; preparation; advertising, marketing,
                                  and promotion; distribution; strategy, decision,
                                  and rationale for developing and marketing; uses;
                                  and offers to sell CVD Diamonds within the United
                                  States;

                                  third parties working on Defendant’s behalf or at
                                  Defendant’s direction in connection with the
                                  importation of CVD Diamonds into the United
                                  States;

                                  Defendant’s conception, design, development,
                                  manufacture, modification, operation, use, and
                                  purchase of equipment used in the manufacture of
                                  CVD Diamonds;

                                  equipment used by Defendant in the manufacture of
                                  CVD Diamonds, including equipment purchased
                                  from third parties;

                                  equipment manufactured by Defendant for use in
                                  the manufacture of CVD Diamonds;

                                  custom equipment used by Defendant in the
                                  manufacture of CVD Diamonds;

                                  Defendant’s sales, licensing, and revenue

Andrea Hansen    Seattle, WA      Infringement of the patents-in-suit by Defendant;

                                  Defendant’s manufacture; preparation; advertising,
                                  marketing, and promotion; distribution; strategy,
                                  decision, and rationale for developing and
                                  marketing; uses; and offers to sell CVD Diamonds
                                  within the United States;




                                    -3-
Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 5 of 12




                              Defendant’s importation of CVD Diamonds into
                              the United States;

                              third parties working on Defendant’s behalf or at
                              Defendant’s direction in connection with the
                              manufacture; preparation; advertising, marketing,
                              and promotion; distribution; strategy, decision,
                              and rationale for developing and marketing; uses;
                              and offers to sell CVD Diamonds within the United
                              States;

                              third parties working on Defendant’s behalf or at
                              Defendant’s direction in connection with the
                              importation of CVD Diamonds into the United
                              States;

                              Defendant’s conception, design, development,
                              manufacture, modification, operation, use, and
                              purchase of equipment used in the manufacture of
                              CVD Diamonds;

                              equipment used by Defendant in the manufacture of
                              CVD Diamonds, including equipment purchased
                              from third parties;

                              equipment manufactured by Defendant for use in
                              the manufacture of CVD Diamonds;

                              custom equipment used by Defendant in the
                              manufacture of CVD Diamonds;

                              Defendant’s sales, licensing, and revenue

             Unknown          Infringement of the patents-in-suit by Defendant;

                              Defendant’s manufacture; preparation; advertising,
                              marketing, and promotion; distribution; strategy,
                              decision, and rationale for developing and
                              marketing; uses; and offers to sell CVD Diamonds
                              within the United States;

                              Defendant’s importation of CVD Diamonds into
                              the United States;




                                -4-
Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 6 of 12




                              third parties working on Defendant’s behalf or at
                              Defendant’s direction in connection with the
                              manufacture; preparation; advertising, marketing,
                              and promotion; distribution; strategy, decision,
                              and rationale for developing and marketing; uses;
                              and offers to sell CVD Diamonds within the United
                              States;

                              third parties working on Defendant’s behalf or at
                              Defendant’s direction in connection with the
                              importation of CVD Diamonds into the United
                              States;

                              Defendant’s conception, design, development,
                              manufacture, modification, operation, use, and
                              purchase of equipment used in the manufacture of
                              CVD Diamonds;

                              equipment used by Defendant in the manufacture of
                              CVD Diamonds, including equipment purchased
                              from third parties;

                              equipment manufactured by Defendant for use in
                              the manufacture of CVD Diamonds;

                              custom equipment used by Defendant in the
                              manufacture of CVD Diamonds;

                              Defendant’s sales, licensing, and revenue

             Unknown          Infringement of the patents-in-suit by Defendant;

                              Defendant’s manufacture; preparation; advertising,
                              marketing, and promotion; distribution; strategy,
                              decision, and rationale for developing and
                              marketing; uses; and offers to sell CVD Diamonds
                              within the United States;

                              Defendant’s importation of CVD Diamonds into
                              the United States;

                              third parties working on Defendant’s behalf or at
                              Defendant’s direction in connection with the
                              manufacture; preparation; advertising, marketing,
                              and promotion; distribution; strategy, decision,




                                -5-
Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 7 of 12




                              and rationale for developing and marketing; uses;
                              and offers to sell CVD Diamonds within the United
                              States;

                              third parties working on Defendant’s behalf or at
                              Defendant’s direction in connection with the
                              importation of CVD Diamonds into the United
                              States;

                              Defendant’s conception, design, development,
                              manufacture, modification, operation, use, and
                              purchase of equipment used in the manufacture of
                              CVD Diamonds;

                              equipment used by Defendant in the manufacture of
                              CVD Diamonds, including equipment purchased
                              from third parties;

                              equipment manufactured by Defendant for use in
                              the manufacture of CVD Diamonds;

                              custom equipment used by Defendant in the
                              manufacture of CVD Diamonds;

                              Defendant’s sales, licensing, and revenue

             Unknown          Infringement of the patents-in-suit by Defendant;

                              Defendant’s manufacture; preparation; advertising,
                              marketing, and promotion; distribution; strategy,
                              decision, and rationale for developing and
                              marketing; uses; and offers to sell CVD Diamonds
                              within the United States;

                              Defendant’s importation of CVD Diamonds into
                              the United States;

                              third parties working on Defendant’s behalf or at
                              Defendant’s direction in connection with the
                              manufacture; preparation; advertising, marketing,
                              and promotion; distribution; strategy, decision,
                              and rationale for developing and marketing; uses;
                              and offers to sell CVD Diamonds within the United
                              States;




                                -6-
     Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 8 of 12




                                          third parties working on Defendant’s behalf or at
                                          Defendant’s direction in connection with the
                                          importation of CVD Diamonds into the United
                                          States;

                                          Defendant’s conception, design, development,
                                          manufacture, modification, operation, use, and
                                          purchase of equipment used in the manufacture of
                                          CVD Diamonds;

                                          equipment used by Defendant in the manufacture of
                                          CVD Diamonds, including equipment purchased
                                          from third parties;

                                          equipment manufactured by Defendant for use in
                                          the manufacture of CVD Diamonds;

                                          custom equipment used by Defendant in the
                                          manufacture of CVD Diamonds;

                                          Defendant’s sales, licensing, and revenue

Russell J. Hemley   Contact through       Inventions claimed in the patents-in-suit;
                    Plaintiffs’ counsel
                                          Conception and reduction to practice of inventions
                                          claimed in the patents-in-suit

Ho-kwang Mao        China                 Inventions claimed in the patents-in-suit;

                                          Conception and reduction to practice of inventions
                                          claimed in the patents-in-suit

Chih-shiue Yan      Taiwan                Inventions claimed in the patents-in-suit;

                                          Conception and reduction to practice of inventions
                                          claimed in the patents-in-suit

Yogesh K. Vohra     Alabama               Inventions claimed in the patents-in-suit;

                                          Conception and reduction to practice of inventions
                                          claimed in the patents-in-suit;




                                            -7-
       Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 9 of 12




 Wei Li                 Netherlands            Inventions claimed in the patents-in-suit;

                                               Conception and reduction to practice of inventions
                                               claimed in the patents-in-suit


       In addition to the individuals identified above, Plaintiffs identify: (1) all witnesses

designated in the initial disclosures of Defendant; (2) any and all persons listed or identified in any

deposition, answer to an interrogatory, response to a request for admission, and any and all

subpoenas or discovery in this action; (3) other witnesses upon reasonable notice to the parties;

and (4) any and all witnesses necessary for rebuttal purposes. Plaintiffs’ designation of a witness

on a given topic is not intended to and does not waive their right hereafter to move to exclude any

evidence or testimony on that topic and shall not be construed as an agreement to, or an adoption

of, the witness’s testimony. In addition, Plaintiffs reserve the right to change the scope of expected

or possible testimony of all witnesses as discovery progresses and as the issues for trial become

defined.

B.    A description by category and location of all documents, electronically stored
information, and tangible things that Plaintiffs have in their possession, custody, or control
and may use to support their claims or defenses

       Categories of documents, data compilations, and tangible things that are within Plaintiffs’

possession, custody, or control, that Plaintiffs may use to support their claims or defenses, include

the following:

       1. U.S. Patent Nos. 6,858,078 and RE41,189 (the “Patents-in-Suit”).

       2. Documents relating to the Patents-in-Suit, including but not limited to, their file histories,

documents related to their conception and reduction to practice, and documents related to

Plaintiffs’ ownership of and license to the Patents-in-Suit.

       3. Documents relating to Defendant’s notice of the Patents-in-Suit.




                                                 -8-
        Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 10 of 12




         4. Licenses and non-privileged communications concerning licensing of the Patents-in-

Suit.

         These documents will be located at Perkins Coie, 700 13th St NW, Washington, DC 20005

as they become available. Additional documents and things relevant to this proceeding are in the

possession of Defendant. Because discovery is not complete in this matter, Plaintiffs may discover

additional documents that support their claims. Plaintiffs reserve all rights to disclose and use

whatever additional evidence comes to their attention as discovery and their investigation in

connection with this action continue. Plaintiffs preserve all privileges in providing this disclosure.

C.       A computation of each category of damages claimed by Plaintiffs

         The amount of damages, attorneys’ fees, expert fees, costs, and expenses, or other relief

that may be awarded to any party to this case by the Court is to be determined. Plaintiffs anticipate

that they will claim damages in the form of (1) compensatory damages as a result of Defendant’s

infringement of one or more claims of the Patents-in-Suit, together with interest and costs,

consistent with lost profits and in no event less than a reasonable royalty; (2) treble damages and

pre-judgment interest under 35 U.S.C. § 284 as a result of Defendant’s willful and deliberate

infringement of one or more claims of the Patents-in-Suit; and (3) expenses, costs, and attorneys’

fees in accordance with 35 U.S.C. §§ 284 and 285 and Rule 54(d) of the Federal Rules of Civil

Procedure. Because this case is in the preliminary stages, Plaintiffs are unable to provide an exact

computation of these damages at this time but will do so once all of the necessary information

becomes known. Plaintiffs reserve the right to introduce evidence to support their damages

calculations, including—but not limited to—the submission of expert reports.




                                                 -9-
      Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 11 of 12




D.      Any insurance agreement under which an insurance business may be liable to satisfy
all or part of a possible judgment in the action or to indemnify or reimburse for payments
made to satisfy the judgment

       Plaintiffs are not aware at this time of any applicable insurance agreement under which an

insurance business may be liable to satisfy all or part of a possible judgment in the action or to

indemnify or reimburse for payments made to satisfy the judgment.



       April 6, 2020                        PERKINS COIE LLP

                                            By: /s/ Matthew J. Moffa
                                                Matthew J. Moffa
                                                PERKINS COIE LLP
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                                                e-mail: MMoffa@PerkinsCoie.com

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                                                607 14th Street, NW
                                                Washington, DC 20005
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                                                Fax: (202) 654-9149
                                                e-mail: TWikberg@PerkinsCoie.com

                                                Counsel for Plaintiffs Carnegie Institution of
                                                Washington and M7D Corporation




                                              -10-
     Case 1:20-cv-00200-JSR Document 126-10 Filed 11/09/20 Page 12 of 12




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2020, I caused to be served copies of the foregoing

PLAINTIFFS’ RULE 26(A) DISCLOSURE TO DEFENDANT FENIX DIAMONDS LLC on the

following counsel via email:

 Steven Sklar                                 Max Snow
 Leydig, Voit & Mayer, Ltd.                   Leydig, Voit & Mayer, Ltd.
 Two Prudential Plaza                         Liebigstrasse 51
 180 N. Stetson Ave., Suite 4900              60323 Frankfurt am Main, Germany
 Chicago, IL 60601                            msnow@leydig.com
 ssklar@leydig.com

 Daniel Waxman
 Bryan, Cave, Leighton, Paisner LLP
 1290 Avenue of the Americas
 New York, NY 10104
 dpwaxman@bclplaw.com


 Dated: April 6, 2020                    By: /s/ Matthew J. Moffa
                                             Terrence J. Wikberg (admitted pro hac vice)
                                             PERKINS COIE LLP

                                             Counsel for Plaintiffs
                                             Carnegie Institution of Washington and M7D
                                             Corporation




                                           -11-
